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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


YOLANDA DOSIER,                                   CIVIL ACTION NO.
                                                  1:20-cv-04477-WMR
     Plaintiff,

                    v.

CITY OF ATLANTA, GEORGIA, and
JEFFREY NORMAN, in his official
capacity as Commissioner of Human
Resources,

     Defendants.


                                     ORDER

      Before the Court is a discovery dispute between the parties over Plaintiff’s

access to certain of Defendant’s employees’ cellphone records.

      On November 19, 2021, the Court ordered Plaintiff to file with the Court a list

of the individuals for whom Plaintiff wishes to obtain cellphone records and

explanations for how each set of records is relevant to the allegations of the

complaint. [Doc. 63.] The Court also ordered Defendants to file a response. [Id.]

      Plaintiff seeks the phone numbers of certain employees “for the sole purpose

of determining if and when Defendant Norman and Deputy Comm. Danielle
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Nichols[] spoke to these employees.” Plaintiff requests the phone numbers of 11

individuals,1 which the Court divides into two categories.

       In the first category, Plaintiff requests the phone numbers of Joshua Williams,

Nadiege Aghomo, and Thad Flowers and explains their relevance. In response,

Defendants do not dispute their relevance and simply state that they “already

submitted . . . a personal and office phone number for Joshua Williams, an office

and cell phone number for Nadiege Aghomo and an office number for Thad

Flowers.” It is unclear from the parties’ submissions whether Defendants have

provided all phone numbers they have for these three individuals. If they have, then

the parties’ dispute over these individuals has been resolved. But, to the extent

Defendants have not provided all phone numbers they have for these three

individuals, and in light of Defendants’ failure to dispute their relevance, Defendants

are ORDERED to produce those phone numbers.

       In the second category, Plaintiff requests the phone numbers of eight

additional individuals. According to Plaintiff, the eight individuals are members of

the City of Atlanta’s Department of Law “who participated in at least one interview



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          Although Plaintiff also originally sought phone numbers for three city councilmembers
(for a total of 14 individuals), Plaintiff “agree[s] to remove these individuals from the list” if
Defendants confirm that the individuals “did not communicate with Mr. Norman or Ms. Nichols
about Plaintiff and the allegations against her.” Defendants confirm that Mr. Norman and Ms.
Nichols did not use their personal cellphone numbers to discuss Plaintiff with the three city
councilmembers during the relevant timeframe. As such, the Court does not address those
cellphone numbers.

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during the investigation(s)” of Marian Woods and Plaintiff “or were identified by

Defendants as having discussed Plaintiff’s termination with Mr. Norman.” Plaintiff

does not indicate which individuals participated in an interview during the

investigation and which individuals discussed Plaintiff’s termination with Mr.

Norman.    The Court believes that those individuals who discussed Plaintiff’s

termination with Mr. Norman are relevant to the allegations of the complaint, which

claims Plaintiff was terminated in retaliation for engaging in protected speech.

However, the Court fails to see (and Plaintiff fails to explain) how the individuals

who merely participated in an interview during the investigation are relevant. As

such, Defendants are ORDERED to produce only the phone numbers of the

individuals who “were identified by Defendants as having discussed Plaintiff’s

termination with Mr. Norman.”

      IT IS SO ORDERED, this 23rd of November, 2021.




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